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                           In the United States District Court
                          for the Northern District of Indiana
                                   Lafayette Division


Joseph Valesh,

       On behalf of himself and those similarly       Case No.
       situated,

                 Plaintiff,                           Judge

       v.                                             Magistrate Judge

Bajco International, LLC; Bajco, LLC; Bajco  Jury Demand Endorsed Hereon
Michiana III, LLC; Bajco Global Management,
LLC; Bajco Global Management II, LLC; Bajco
100, LLC; Bajco North, LLC; Bajco East,
LLC; Bajco Central, LLC; Bajco Florida, LLC;
Bajco Illinois, LLC; Bajco Michiana, LLC;
Bajco Michiana II, LLC; Bajco Michiana IV,
LLC; Bajco New York, LLC; Bajco Ohio, LLC;
Bajco Philadelphia, LLC; Bajco Williamsport,
LLC; Bajco Wisconsin, LLC; BETCO 36 Bajco
Venture LLC; Nadeem Bajwa; and Faisal
Bajwa,

                 Defendants.


                        Class and Collective Action Complaint



       1.        Joseph Valesh, on behalf of himself and similarly-situated individuals, brings this

action against Defendants Bajco International, LLC; Bajco, LLC; Bajco Michiana III, LLC; Bajco

Global Management, LLC; Bajco Global Management II, LLC; Bajco 100, LLC; Bajco North,

LLC; Bajco East, LLC; Bajco Central, LLC; Bajco Florida, LLC; Bajco Illinois, LLC; Bajco

Michiana, LLC; Bajco Michiana II, LLC; Bajco Michiana IV, LLC; Bajco New York, LLC; Bajco

Ohio, LLC; Bajco Philadelphia, LLC; Bajco Williamsport, LLC; Bajco Wisconsin, LLC; BETCO

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36 Bajco Venture LLC; Nadeem Bajwa; and Faisal Bajwa, (“Defendants”). Plaintiff seeks

appropriate monetary, declaratory, and equitable relief based on Defendants’ willful failure to

compensate Plaintiff and similarly-situated individuals with minimum wages as required by the

Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq., the Indiana Wage Payment Act

(“IWPA”), Ind. Code § 22-2-5, and the Indiana Wage Deduction Act, Ind. Code § 22-2-6, and

for unjust enrichment.

       2.     Defendants own and operate approximately 125 Papa John’s Pizza locations in the

United States (“Defendants’ Papa John’s stores”).

       3.     Plaintiff seeks to represent the delivery drivers who have worked at the

Defendants’ Papa John’s stores (“Delivery Drivers”).

       4.     Defendants repeatedly and willfully violated the Fair Labor Standards Act,

Section 34a, and Ind. Code § 22-2-5 and Ind. Code § 22-2-6 by failing to adequately reimburse

Delivery Drivers for their delivery-related expenses, thereby failing to pay Delivery Drivers the

legally mandated minimum wages for all hours worked.

       5.     All Delivery Drivers at the Defendants’ Papa John’s stores, including Plaintiff,

have been subject to the same or similar employment policies and practices.

                                Jurisdiction and Venue

       6.     Under 28 U.S.C. § 1331 and 29 U.S.C. § 216(b), this Court has jurisdiction over

Plaintiff’s FLSA claims.

       7.     Under 28 U.S.C. § 1367, this Court has supplemental jurisdiction over Plaintiff’s

Indiana law claims under Ind. Code. § 22-2-5 and Ind. Code. § 22-2-6.




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        8.      Venue in this Court is proper under 28 U.S.C. § 1391(b) because Plaintiff Joseph

Valesh resides in this district, and a substantial part of the events giving rise to the claim herein

occurred in this district.

                                              Parties
Plaintiff

Joseph Valesh

        9.      Plaintiff Joseph Valesh is a resident of Indiana.

        10.     Plaintiff was an “employee” of all of the Defendants as defined in the FLSA, Ind.

Code § 22-2-5, and Ind. Code § 22-2-6.

        11.     Plaintiff has given written consent to join this action.

Defendants

        12.     Defendants’ Papa John’s stores are owned and/or operated by a number of

entities and individuals, each of whom employ Plaintiff and the Delivery Drivers.

The Defendant Entities

        13.     The Defendant Entities—Bajco International, LLC; Bajco, LLC; Bajco Michiana

III, LLC; Bajco Global Management, LLC; Bajco Global Management II, LLC; Bajco 100, LLC;

Bajco North, LLC; Bajco East, LLC; Bajco Central, LLC; Bajco Florida, LLC; Bajco Illinois,

LLC; Bajco Michiana, LLC; Bajco Michiana II, LLC; Bajco Michiana IV, LLC; Bajco New York,

LLC; Bajco Ohio, LLC; Bajco Philadelphia, LLC; Bajco Williamsport, LLC; Bajco Wisconsin,

LLC; and BETCO 36 Bajco Venture LLC—are limited liability companies headquartered in

and/or around Niles, OH, and/or Canfield, OH.

        14.     The Defendant Entities were founded, owned, and/or operated by Defendant

Nadeem Bajwa.

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       15.      Upon information and belief, the word contained in all of the Defendant Entities’

names—“Bajco”—is a reference to Defendant Nadeem Bajwa’s last name.

       16.      Upon information and belief, some of the Defendant Entities primarily function to

operate a single Papa John’s store or group of stores within the Bajco Papa John’s Pizza

operation. For example, upon information and belief, “Bajco Michiana III, LLC” operates the

store location where Plaintiff worked.

       17.      Upon information and belief, other of the Defendant Entities operate in an

administrative or support role within the Bajco Papa John’s Pizza operation. For example, upon

information and belief, Bajco, LLC, Bajco International, LLC, Bajco Global Management, LLC,

Bajco Global Management II, LLC, and BETCO 36 Bajco Venture LLC are entities that provide

administrative, back office, financial, and other operational support to Defendants’ Papa John’s

Pizza stores.

       18.      Together, all of the Defendants make up the Bajco Papa John’s Pizza operation.

       19.      Defendants collectively operate under the trade name “Bajco Group”.

       20.      Defendants own and operate one of the largest Papa John’s Pizza franchise chains,

totaling approximately 125 stores in the United States.

       21.      The Bajco Papa John’s operation was recognized in 2019 by “Franchise 200” as

the #121 ranked franchise in the United States. See https://www.franchisetimes.com/pdf/2019/

Franchise%20Handbook-web.pdf.

       22.      The Bajco Papa John’s operation was recognized in 2020 by “Multi-Unit

Franchise” as the #87 ranked franchise in the United States. See https://www.franchising.

com/articles/2020_mega_99_rankings.html.



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          23.   In 2015, Defendants Bajco, LLC, Bajco 100, LLC, Bajco East, LLC, Bajco

Florida, LLC, Bajco Global Management, LLC, Bajco Gulf Holdings, LLC, Bajco Gulf, LLC,

Bajco Michiana, LLC, Bajco Michiana II, LLC, Bajco Michiana III, LLC, Bajco New York, LLC,

Bajco North, LLC, Bajco PA, Bajco Philadelphia, LLC, BETCO 36 Bajco Venture, LLC, and

Bajco Williamsport, LLC jointly settled a delivery driver automobile expenses under-

reimbursement case based on the same facts alleged herein. See Heuberger v. Bajco, LLC, No.

1:14-cv-01472, Doc. 101 (S.D. Ind. Oct. 21, 2015).

          24.   The Bajco Papa John’s operation has the authority to and does hire and fire

employees, supervise and control the work schedules and conditions of employees, determine the

rate and methods of pay, and/or maintain employee records. Defendants form a “single

employer” as they are part of a single integrated enterprise and/or they are joint employers as

they jointly operate a chain of Papa John’s franchise stores and maintain interrelated operations,

centralized control of labor relations, common management and common ownership and

financial control. Because the work performed by Plaintiff and all other Delivery Drivers

benefited all Defendants and directly or indirectly furthered their joint interests, Defendants are

collectively the joint employers of Plaintiff and other similarly situated employees under the

FLSA’s definition of “employer.”

          25.   Each of the Defendant Entities has substantial control over Plaintiff and similarly

situated employees’ working conditions, and over the unlawful policies and practices alleged

herein.

          26.   Each of the Defendant Entities directly or indirectly controls of the terms and

conditions of Plaintiff’s work and the work of similarly situated employees.



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        27.    Each of the Defendant Entities maintained control, oversight, and direction over

Plaintiff and similarly situated employees, including, but not limited to, hiring, firing,

disciplining, timekeeping, payroll, reimbursements, pay rates, deductions, and other practices.

        28.    Each of the Defendant Entities is an “employer” of Plaintiff and similarly situated

employees as that term is defined by the FLSA.

        29.    Each of the Defendant Entities has been and continues to be an enterprise engaged

in “the production of goods for commerce” within the meaning of the phrase as used in the

FLSA.

        30.    Each of the Defendant Entities has gross revenue that exceeds $500,000 per year.

        31.    Collectively, the Defendant Entities have gross revenue that exceeds $500,000

per year.

Nadeem Bajwa

        32.    Defendant Nadeem Bajwa is the owner of the Defendant Entities.

        33.    Defendant Nadeem Bajwa is involved in the operation of the Defendant Entities.

        34.    Defendant Nadeem Bajwa is the CEO of some or all of the Defendant Entities.

        35.    Defendant Nadeem Bajwa is the CFO of some or all of the Defendant Entities.

        36.    Through the Defendant Entities, Defendant Nadeem Bajwa owns and operates

the Defendants’ Papa John’s stores.

        37.    Defendant Nadeem Bajwa acts directly and indirectly on behalf of the Bajco Papa

John’s operation in relation to the operation’s Delivery Drivers.




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          38.   Defendant Nadeem Bajwa has the authority to control the terms of employment of

the Delivery Drivers at Defendants’ Papa John’s stores, even if he sometimes delegates that

authority to other individuals and managers.

          39.   Nadeem Bajwa operates more than 125 Papa John’s Stores in the United States.

          40.   Nadeem Bajwa is individually liable to the Delivery Drivers at the Defendants’

Papa John’s stores under the definitions of “employer” set forth in the FLSA, Ind. Code § 22-2-

5 and Ind. Code § 22-2-6 because he owns the Defendants’ Papa John’s stores, serves as a CEO

and owner of Bajco Michiana III, LLC, Bajco Global Management, LLC., Bajco International,

LLC, ultimately controls significant aspects of the Defendants’ Papa John’s stores’ day-to-day

functions, and ultimately controls compensation and reimbursement of employees. 29 U.S.C. §

203(d).

          41.   Nadeem Bajwa is the franchisee of the Defendants’ Papa John’s stores.

          42.   At all relevant times, by virtue of his role as owner and CEO of the Defendant

Entities, Nadeem Bajwa has had financial control over the operations at each of the Defendants’

Papa John’s stores.

          43.   At all relevant times, by virtue of his role as owner and CEO of the Defendant

Entities, Nadeem Bajwa has had a role in significant aspects of the Defendants’ Papa John’s

stores’ day to day operations.

          44.   At all relevant times, by virtue of his role as owner and CEO of the Defendant

Entities, Nadeem Bajwa has had control over the Defendants’ Papa John’s stores’ pay policies.




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        45.    At all relevant times, by virtue of his role as owner and CEO of the Defendant

Entities, Nadeem Bajwa has had power over personnel and payroll decisions at the Defendants’

Papa John’s stores, including but not limited to influence of delivery driver pay.

        46.    At all relevant times, by virtue of his role as owner and CEO of the Defendant

Entities, Nadeem Bajwa has had the power to hire, fire and discipline employees, including

Delivery Drivers at the Defendants’ Papa John’s stores.

        47.    At all relevant times, by virtue of his role as owner and CEO of the Defendant

Entities, Nadeem Bajwa has had the power to stop any illegal pay practices that harmed Delivery

Drivers at the Defendants’ Papa John’s stores.

        48.    At all relevant times, by virtue of his role as owner and CEO of the Defendant

Entities, Nadeem Bajwa has had the power to transfer the assets and liabilities of the Defendant

entities.

        49.    At all relevant times, by virtue of his role as owner and CEO of the Defendant

Entities, Nadeem Bajwa has had the power to declare bankruptcy on behalf of the Defendant

entities.

        50.    At all relevant times, by virtue of his role as owner and CEO of the Defendant

Entities, Nadeem Bajwa has had the power to enter into contracts on behalf of each of the

Defendants’ Papa John’s stores.

        51.    At all relevant times, by virtue of his role as owner and CEO of the Defendant

Entities, Nadeem Bajwa has had the power to close, shut down, and/or sell each of the

Defendants’ Papa John’s stores.




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          52.   At all relevant times, by virtue of his role as owner and CEO of the Defendant

Entities, Nadeem Bajwa had authority over the overall direction of each of Defendants’ Papa

John’s stores and was ultimately responsible for their operations.

          53.   The Defendants’ Papa John’s stores and operation function for Nadeem Bajwa’s

profit.

          54.   Nadeem Bajwa has influence over how the Defendants’ Papa John’s stores can

run more profitably and efficiently.

Faisal Bajwa

          55.   Faisal Bajwa is the CFO of some or all of the Defendant Entities.

          56.   Faisal Bajwa operates more than 125 Papa John’s Stores in the United States.

          57.   Faisal Bajwa is individually liable to the Delivery Drivers at the Defendants’ Papa

John’s stores under the definitions of “employer” set forth in the FLSA, Ind. Code § 22-2-5 and

Ind. Code § 22-2-6 because he owns the Defendants’ Papa John’s stores, serves as a CFO of

Bajco Michiana III, LLC, Bajco Global Management, LLC., and Bajco International, LLC,

ultimately controls significant aspects of the Defendants’ Papa John’s stores’ day-to-day

functions, and ultimately controls compensation and reimbursement of employees. 29 U.S.C. §

203(d).

          58.   At all relevant times, by virtue of his role as CFO of the Defendant Entities, Faisal

Bajwa has had financial control over the operations at each of the Defendants’ Papa John’s

stores.




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          59.   At all relevant times, by virtue of his role as CFO of the Defendant Entities, Faisal

Bajwa has had a role in significant aspects of the Defendants’ Papa John’s stores’ day to day

operations.

          60.   At all relevant times, by virtue of his role as CFO of the Defendant Entities, Faisal

Bajwa has had control over the Defendants’ Papa John’s stores’ pay policies.

          61.   At all relevant times, by virtue of his role as CFO of the Defendant Entities, Faisal

Bajwa has had power over personnel and payroll decisions at the Defendants’ Papa John’s stores,

including but not limited to influence of delivery driver pay.

          62.   At all relevant times, by virtue of his role as CFO of the Defendant Entities, Faisal

Bajwa has had the power to hire, fire and discipline employees, including Delivery Drivers at the

Defendants’ Papa John’s stores.

          63.   At all relevant times, by virtue of his role as CFO of the Defendant Entities, Faisal

Bajwa has had the power to stop any illegal pay practices that harmed Delivery Drivers at the

Defendants’ Papa John’s stores.

          64.   At all relevant times, by virtue of his role as CFO of the Defendant Entities, Faisal

Bajwa has had the power to transfer the assets and liabilities of the Defendant entities.

          65.   At all relevant times, by virtue of his role as CFO of the Defendant Entities, Faisal

Bajwa has had the power to declare bankruptcy on behalf of the Defendant entities.

          66.   At all relevant times, by virtue of his role as CFO of the Defendant Entities, Faisal

Bajwa has had the power to enter into contracts on behalf of each of the Defendants’ Papa John’s

stores.




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          67.   At all relevant times, by virtue of his role as CFO of the Defendant Entities, Faisal

Bajwa has had the power to close, shut down, and/or sell each of the Defendants’ Papa John’s

stores.

          68.   At all relevant times, by virtue of his role as CFO of the Defendant Entities, Faisal

Bajwa had authority over the overall direction of each of Defendants’ Papa John’s stores and was

ultimately responsible for their operations.

          69.   The Defendants’ Papa John’s stores function for Faisal Bajwa’s profit.

          70.   Faisal Bajwa has influence over how the Defendants’ Papa John’s stores can run

more profitably and efficiently.

Doe Corporation 1-10

          71.   Upon information and belief, Defendants own, operate, and control other entities

and/or limited liability companies that also comprise part of the Defendants’ Papa John’s stores,

and qualify as “employers” of Plaintiff and the Delivery Drivers at the Defendants’ Papa John’s

stores as that term is defined by the FLSA and Indiana wage law.

          72.   Upon information and belief, Nadeem Bajwa owns and/or operates, in whole or in

part, a number of other entities that may make up part of the Defendants’ Papa John’s operation.

          73.   The identities of these additional Defendants should be revealed as discovery

progresses and can be named at that time.

John Doe 1-10

          74.   Upon information and belief, there are additional individuals who also qualify as

“employers” of Plaintiff and the Delivery Drivers at the Defendants’ Papa John’s stores as that

term is defined by the FLSA and Indiana wage law.



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          75.   Upon information and belief, Nadeem Bajwa has entered into co-owner

relationships with a number of his managers and business partners, and those individuals might

also qualify as “employers” of Plaintiff and the Delivery Drivers at the Defendants’ Papa John’s

stores as that term is defined by the FLSA and Indiana wage law.

          76.   The identities of these additional Defendants should be revealed as discovery

progresses and can be named at that time.

                                              Facts

                               Class-wide Factual Allegations

          77.   During all relevant times, Defendants have operated the Defendants’ Papa John’s

stores.

          78.   Plaintiff and the similarly situated persons Plaintiff seeks to represent are current

and former Delivery Drivers at the Defendants’ Papa John’s stores.

          79.   All Delivery Drivers employed at the Defendants’ Papa John’s stores over the last

three years have had essentially the same job duties.

          80.   When there are no deliveries to make, Defendants’ Delivery Drivers are required

to work inside the Defendants’ Papa John’s stores cleaning up dishes, sweeping, making boxes,

stocking doughs, boxes, coolers, and the pull table, filling the ice container, and completing other

duties inside the restaurant as necessary.

          81.   Plaintiff and similarly situated Delivery Drivers have been paid minimum wage or

slightly above minimum wage for the hours they worked while completing duties inside the

restaurant.




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          82.   Plaintiff and similarly situated Delivery Drivers have been paid minimum wage

minus a tip credit for the hours they worked while delivering food for Defendants’ Papa John’s

stores.

          83.   The job duties performed by Delivery Drivers inside the store are not related to

their tip-producing duties while they are out on the road making deliveries.

          84.   Delivery Drivers do not complete their inside job duties contemporaneously with

their delivery job duties.

          85.   The Delivery Drivers at the Defendants’ Papa John’s stores work “dual jobs.”

          86.   Defendants require Delivery Drivers at Defendants’ Papa John’s stores to provide

cars to use while completing deliveries for Defendants.

          87.   Defendants require Delivery Drivers to maintain and pay for operable, safe, and

legally compliant automobiles to use in delivering Defendants’ pizza and other food items.

          88.   Defendants require Delivery Drivers to incur and/or pay job-related expenses,

including but not limited to automobile costs and depreciation, gasoline expenses, automobile

maintenance and parts, insurance, financing charges, licensing and registration costs, cell phone

costs, GPS charges, and other equipment necessary for Delivery Drivers to complete their job

duties.

          89.   Pursuant to such requirements, Plaintiff and other similarly situated employees

purchase gasoline, vehicle parts and fluids, automobile repair and maintenance services,

automobile insurance, suffered automobile depreciation and damage, financing, licensing, and

registration charges, and incur cell phone and data charges all for the primary benefit of

Defendants.



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       90.     The Defendants’ Papa John’s stores reimburse their Delivery Drivers at a set rate

for each delivery order.

       91.     For example, Plaintiff is reimbursed $1.25 for each order Plaintiff delivers.

       92.     Defendants’ reimbursement payments had no connection to the actual expenses

incurred by the Delivery Drivers.

       93.     The Defendants’ Papa John’s stores do not track or record the Delivery Drivers’

actual expenses.

       94.     The Defendants’ Papa John’s stores do not collect receipts or other records from

their Delivery Drivers related to the expenses they incur while completing deliveries.

       95.     The Defendants’ Papa John’s stores do not reimburse their Delivery Drivers for

the actual expenses Delivery Drivers incur.

       96.     The Defendants’ Papa John’s stores do not reimburse their Delivery Drivers at

the IRS standard business mileage rate.

       97.     The Defendants’ Papa John’s stores did not even reasonably approximate the

Delivery Drivers’ expenses.

       98.     The Defendants’ Papa John’s stores’ reimbursement payments result in

reimbursements that are less than the IRS standard business mileage rate for each mile driven.

       99.     According to the Internal Revenue Service, the standard mileage rate for the use

of a car during the relevant time periods have been:

               a.      2017: 53.5 cents/mile
               b.      2018: 54.5 cents/mile
               c.      2019: 58 cents/mile
               d.      2020: 57.5 cents/mile




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       100.    The Delivery Drivers at the Defendants’ Papa John’s stores have incurred even

more in expenses than those contemplated by the IRS standard business mileage rate—e.g., cell

phone and data charges.

       101.    As a result of the automobile and other job-related expenses incurred by Plaintiff

and other similarly situated Delivery Drivers, they were deprived of minimum wages guaranteed

to them by the FLSA and Indiana law.

       102.    Defendants have applied the same or similar pay policies, practices, and

procedures to all Delivery Drivers at the Defendants’ Papa John’s stores.

       103.    Because Defendants paid their drivers a gross hourly wage at precisely, or at least

very close to, the applicable minimum wage, and because the Delivery Drivers incurred

unreimbursed automobile expenses, the Delivery Drivers “kicked back” to Defendants an

amount sufficient to cause minimum wage violations. See 29 C.F.R. § 531.35.

       104.    Defendants have failed to properly take a tip credit from Plaintiffs’ wages and the

wages of similarly situated employees because, after accounting for unreimbursed expenses,

Defendants have paid Delivery Drivers a lower wage rate than they informed the Delivery

Drivers they would be paid.

       105.    Defendants have also failed to properly inform Plaintiff and similarly situated

Delivery Drivers of the requirements for taking a tip credit. 29 C.F.R.§ 531.59.

       106.    Defendants’ Delivery Drivers are sometimes required to go to other of

Defendants’ stores to get food and supplies. The drivers are not reimbursed at all for the miles

they drive completing these tasks.




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       107.    Defendants have willfully failed to pay federal and Indiana state minimum wage to

Plaintiff and similarly situated Delivery Drivers at the Defendants’ Papa John’s stores.

                        Plaintiff’s Individual Factual Allegations

       108.    Plaintiff worked at the Papa John’s store in Lafayette, Indiana from approximately

September 2017 until approximately April 2019.

       109.    From the start of his employment until approximately February 2019, Plaintiff

was paid minimum wage minus a tip credit ($5.25 and eventually $5.75 per hour), for the hours

he worked delivering food items for Defendants.

       110.    When Plaintiff was not delivering food, he worked inside the restaurant. His work

inside the restaurant included stocking, doing dishes, cleaning, and completing other duties

inside the restaurant as necessary.

       111.    From the start of his employment until approximately February 2019, Plaintiff

received minimum wage, $7.25 per hour, for his work inside the restaurant.

       112.    From approximately February 2019 until April 2019, Plaintiff received $7.75 for

this work inside the restaurant.

       113.    Plaintiff worked dual jobs.

       114.    Plaintiff’s inside duties were not related to his delivery duties.

       115.    Plaintiff was required to use his own car to deliver pizzas.

       116.    Plaintiff was reimbursed a set rate for each of the delivery orders he completed.

Plaintiff was reimbursed $1.25 for each delivery he completed.

       117.    Plaintiff was required to maintain and pay for operable, safe, and legally compliant

automobiles to use in delivering Defendants’ pizza and other food items.



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       118.    Plaintiff was required to incur and/or pay job-related expenses, including but not

limited to automobile costs and depreciation, gasoline expenses, automobile maintenance and

parts, insurance, cell phone service, GPS service, automobile financing, licensing and registration

costs, and other equipment necessary for Plaintiff to complete his job duties.

       119.    Plaintiff purchased gasoline, vehicle parts and fluids, automobile repair and

maintenance services, automobile insurance, suffered automobile depreciation and damage,

automobile financing, licensing and registration costs, and incurred cell phone and data charges

all for the primary benefit of Defendants.

       120.    Defendants did not track the actual expenses incurred by Plaintiff.

       121.    Defendants did not ask Plaintiff to provide receipts of the expenses he incurred

while delivering pizzas for Defendants.

       122.    Defendants did not reimburse Plaintiff based on his actual delivery-related

expenses.

       123.    Plaintiff was not reimbursed at the IRS standard mileage rate for the miles he

drove while completing deliveries.

       124.    Defendants did not reimburse Plaintiff based on a reasonable approximation of his

expenses.

       125.    Plaintiff completed approximately 3 deliveries per hour.

       126.    Plaintiff drove approximately 7 miles per delivery on average.

       127.    In 2019, for example, the IRS business mileage reimbursement was $.58 per mile.

http://www.irs.gov/Tax-Professionals/Standard-Mileage-Rates.        During       this   time   period,

Plaintiff was reimbursed $1.25 per delivery. Considering Plaintiff’s estimate of about 7 miles per



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delivery (7 miles x $.58 per mile = $4.06), Defendants under-reimbursed him by about $2.81 per

delivery ($4.06 - $1.25). Since Plaintiff completed approximately 3 deliveries per hour, Plaintiff

was under-reimbursed by approximately $8.43 per hour ($2.81 x 3 deliveries per hour).

       128.    Defendants have failed to properly take a tip credit from Plaintiff’s wages because,

after accounting for unreimbursed expenses, Defendants have taken more of a tip credit than

they informed Plaintiff they would be taking.

       129.    Defendants have failed to pay Plaintiff minimum wage as required by law.

                           Collective Action Allegations

       130.    Plaintiff brings the First Count on behalf of himself and all similarly situated

current and former Delivery Drivers employed at the Defendants’ Papa John’s stores owned,

operated, and controlled by Defendants nationwide, during the three years prior to the filing of

this Class Action Complaint and the date of final judgment in this matter, who elect to opt-in to

this action (the “FLSA Collective”).

       131.    At all relevant times, Plaintiff and the FLSA Collective have been similarly

situated, have had substantially similar job duties, requirements, and pay provisions, and have all

been subject to Defendants’ decision, policy, plan, practices, procedures, protocols, and rules of

willfully refusing to pay Plaintiff and the FLSA Collective minimum wage for all hours worked

and failing to reimburse Delivery Drivers for automobile expenses and other job-related expenses.

Plaintiff’s claims are essentially the same as those of the FLSA Collective.

       132.    Defendants’ unlawful conduct is pursuant to a company policy or practice.

       133.    Defendants are aware or should have been aware that federal law required them to

pay employees minimum wage for all hours worked and to fully reimburse for “tools of the



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trade.” Defendants are aware or should have been aware that they were obligated to actually pay

the tipped wage rate that they informed Plaintiff and other Delivery Drivers that they would pay.

          134.   Defendants’ unlawful conduct has been widespread, repeated, and consistent.

          135.   The First Count is properly brought under and maintained as an opt-in collective

action under 29 U.S.C. § 216(b).

          136.   The FLSA Collective members are readily identifiable and ascertainable.

          137.   In recognition of the services Plaintiff has rendered and will continue to render to

the FLSA Collective, Plaintiff will request payment of a service award upon resolution of this

action.

                                     Class Action Allegations

          138.   Plaintiff brings the Second and Third Counts under Federal Rule of Civil

Procedure 23, on behalf of himself and a class of persons consisting of:

          All current and former Delivery Drivers employed by Defendants at the
          Defendants’ Papa John’s stores in the State of Indiana between the date two years
          prior to the filing of the original complaint and the date of final judgment in this
          matter (“Rule 23 Class”).

          139.   Excluded from the Rule 23 Class are Defendants’ legal representatives, officers,

directors, assigns, and successors, or any individual who has, or who at any time during the class

period has had, a controlling interest in Defendants; the Judge(s) to whom this case is assigned

and any member of the Judges’ immediate family; and all persons who will submit timely and

otherwise proper requests for exclusion from the Rule 23 Class.

          140.   The number and identity of the Rule 23 Class members are ascertainable from

Defendants’ records.



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       141.    The hours assigned and worked, the positions held, deliveries completed, and the

rates of pay and reimbursements paid for each Rule 23 Class Member are determinable from

Defendants’ records.

       142.    All of the records relevant to the claims of Rule 23 Class Members should be

found in Defendants’ records.

       143.    For the purpose of notice and other purposes related to this action, their names

and contact information are readily available from Defendants.

       144.    Notice can be provided by means permissible under Rule 23.

       145.    The Rule 23 Class member are so numerous that joinder of all members is

impracticable, and the disposition of their claims as a class will benefit the parties and the Court.

       146.    There are more than 50 Rule 23 Class members.

       147.    Plaintiff’s claims are typical of those claims which could be alleged by any Rule 23

Class member, and the relief sought is typical of the relief which would be sought by each Rule 23

Class member in separate actions.

       148.    Plaintiff and the Rule 23 Class members have all sustained similar types of

damages as a result of Defendants’ failure to comply Ind. Code § 22-2-5 and Ind. Code § 22-2-6.

       149.    Plaintiff and the Rule 23 Class members sustained similar losses, injuries, and

damages arising from the same unlawful practices, polices, and procedures.

       150.    Plaintiff is able to fairly and adequately protect the interests of the Rule 23 Class

and has no interests antagonistic to the Rule 23 Class.

       151.    Plaintiff is represented by attorneys who are experienced and competent in both

class action litigation and employment litigation.



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       152.    A class action is superior to other available methods for the fair and efficient

adjudication of the controversy, particularly in the context of wage and hour litigation on behalf

of minimum wage employees where individual class members lack the financial resources to

vigorously prosecute a lawsuit against corporate defendants. Class action treatment will permit a

large number of similarly situated persons to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of efforts and expense that

numerous individual actions engender.

       153.    This action is properly maintainable as a class action under Federal Rule of Civil

Procedure 23(b)(3).

       154.    Common questions of law and fact exist as to the Rule 23 Class that predominate

over any questions only affecting Plaintiff and the Rule 23 Class members individually and

include, but are not limited to:

           a. Whether Plaintiff and the Rule 23 Class members were subject to a common
              expense reimbursement policy that resulted in wages to drop below legally
              allowable minimum wage;

           b. Whether Plaintiff and the Rule 23 Class were subject to a policy that required
              them to maintain and pay for safe, operable, and legally compliant automobiles to
              use in completing deliveries;

           c. Whether Plaintiff and the Rule 23 Class incurred expenses for the benefit of
              Defendants in the course of completing deliveries;

           d. Whether Defendants reimbursed Plaintiff and the Rule 23 Class members for their
              actual expenses;

           e. Whether Defendants reimbursed Plaintiff and the Rule 23 Class members at the
              IRS standard business mileage rate for the miles they drove in making deliveries;




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             f. Whether Defendants properly reimbursed Plaintiff and the Rule 23 Class
                members;

             g. Whether Plaintiff and the Rule 23 Class were properly informed of the
                requirements for taking a tip credit;

             h. Whether Plaintiff and the Rule 23 Class were actually paid the wage rate they
                were promised by Defendants;

             i. Whether Plaintiff and the Rule 23 Class conferred a benefit on Defendants that
                Defendants were aware of and accepted, and whether it would be unjust for
                Defendants to retain that benefit without compensating for it;

             j.    Whether Defendants failed to pay Plaintiff and the Rule 23 Class in a timely
                   manner as described in Ind. Code § 22-2-5-1;

             k. Whether Defendants were acting in good faith when they failed to pay Plaintiff
                and the Rule 23 Class in accordance with Ind. Code § 22-2-5-2;

             l. Whether Defendants’ deductions from Plaintiff and the Rule 23 were permissible
                in the manner described in Ind. Code § 22-2-6; and

             m. The nature and extent of class-wide injury and the measure of damages for those
                injuries.

          155.     In recognition of the services Plaintiff has rendered and will continue to render to

the Rule 23 Class, Plaintiff will request payment of a service award upon resolution of this action.

                                         Causes of Action

                                           Count 1
                  Failure to Pay Minimum Wages - Fair Labor Standards Act
                       (On Behalf of Plaintiff and the FLSA Collective)

          156.     Plaintiff restates and incorporates the foregoing allegations as if fully rewritten

herein.




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          157.   Plaintiff and the FLSA Collective are or were non-exempt, hourly employees

entitled to receive no less than minimum wage for all hours worked.

          158.   Defendants failed to properly claim a tip credit from the wages of Plaintiff and the

FLSA collective because Plaintiff and the FLSA collective were paid a wage rate lower than

Defendants informed them that they would be paid.

          159.   Defendants paid Plaintiff and the FLSA Collective at or close to minimum wage

for all hours worked.

          160.   Defendants required and continue to require Plaintiff and the FLSA Collective to

pay for automobile expenses and other job-related expenses out of pocket, and failed to properly

reimburse Plaintiff and the FLSA Collective for said expenses.

          161.   By the acts and conduct described above, Defendants willfully violated the

provisions of the FLSA and disregarded the rights of Plaintiff and the FLSA Collective.

          162.   Plaintiff and the FLSA Collective have been damaged by Defendants’ willful

failure to pay minimum wage as required by law.

          163.   As a result of Defendants’ willful violations, Plaintiff and the FLSA Collective are

entitled to damages, including, but not limited to, unpaid wages, unreimbursed expenses,

liquidated damages, costs, and attorneys’ fees.

                                         Count 2
                  Failure to Pay Earned Wages – Indiana Code § 22-2-5
                      (On Behalf of Plaintiff and the Rule 23 Class)

          164.   Plaintiff restates and incorporates the foregoing allegations as if fully rewritten

herein.




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        165.   Defendants paid Plaintiff and the Rule 23 Class below minimum wage for the

hours they worked by requiring them to cover automobile expenses and other job-related

expenses.

        166.   Ind. Code § 22-2-5, et seq., requires that all employers, including Defendants, pay

their employees the amount due to the employee at least semimonthly or biweekly.

        167.   Ind. Code § 22-2-5, et seq., requires that payment shall be made for all wages

earned to a date not more than 10 business days prior to the date of payment.

        168.   Ind. Code § 22-2-5-2 allows employees who have been denied the timely payment

of wages under Ind. Code § 22-2-5-1 to recover their unpaid wages, costs and attorneys’ fees,

and allows employees an additional two times their unpaid wages if the employer was not acting

in good faith when they failed to pay all wages due to the employee.

        169.   Defendants have failed to pay Plaintiff and the Rule 23 Class their earned wages in

accordance with Ind. Code § 22-2-5-1.

        170.   By not paying minimum wage to Plaintiff and the Rule 23 Class, Defendants have

violated Ind. Code § 22-2-5-1.

        171.   Defendants did not act in good faith in failing to pay Plaintiff and the Rule 23

Class their earned wages.

        172.   As a result of Defendants’ failure to pay Plaintiff and the Rule 23 Class in

accordance with Ind. Code § 22-2-5, Plaintiff and the Rule 23 Class are entitled to unpaid wages,

unreimbursed expenses, an additional two times unpaid wages as damages, costs, and attorneys’

fees.

                                     Count 3
                  Withholding of Wages – Ind. Code§ 22-2-6, et seq.


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                       (On Behalf of Plaintiff and the Rule 23 Class)

          173.   Plaintiff restates and incorporates the foregoing allegations as if fully rewritten

herein.

          174.   Ind. Code § 22-2-6-2 limits the type and amount of deductions and assignments

are permitted to take from an employee’s wages.

          175.   Defendants violated Ind. Code § 22-2-6-2 by taking deductions from the wages of

Plaintiff and the Rule 23 Class members for automobile expenses without the prior consent of

Plaintiff and the Rule 23 Class members.

          176.   By not paying Plaintiff and the Rule 23 Class for all hours worked, Defendants

violated Ind. Code § 22-2-6.

          177.   Defendants did not act in good faith in failing to pay Plaintiff and the Rule 23

Class their earned wages.

          178.   As a result of Defendants’ failure to pay Plaintiff and the Rule 23 Class in

accordance with Ind. Code § 22-2-6, Plaintiff and Rule 23 Class are entitled to unpaid wages,

unreimbursed expenses, an additional two times unpaid wages, damages, costs, and attorneys’

fees. .

          WHEREFORE, Plaintiff Joseph Valesh, on behalf of himself and those similarly situated,

prays for all of the following relief:

          A.     Designation of this action as a collective action on behalf of the collective action

members and prompt issuance of notice to all similarly-situated members of an opt-in class,

apprising them of this action, permitting them to assert timely wage and hour claims in this




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action, and appointment of Plaintiffs and their counsel to represent the collective action

members.

       B.      Unpaid minimum wages, reimbursement of expenses, and an additional and equal

amount as liquidated damages pursuant to the FLSA and supporting regulations.

       C.      Certification of this case as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure.

       D.      Designation of Plaintiff as representative of the Rule 23 Class and counsel of

record as Class Counsel.

       E.      A declaratory judgment that the practices complained of herein are unlawful

under Ind. Code § 22-2-5, et seq. and Ind. Code § 22-2-6, et seq.

       F.      An award of damages under the Ind. Code § 22-2-5, et seq. and Ind. Code § 22-2-

6, et seq. in the amount of unpaid wages, double damages, unlawful deductions, attorneys’ fees,

and costs.

       G.      An award of prejudgment and post-judgment interest.

       H.      An award of costs and expenses of this action, together with reasonable attorneys’

fees and expert fees.

       I.      Such other legal and equitable relief as the Court deems appropriate.

                                              Respectfully submitted,

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                                 Counsel for Plaintiff and the putative class




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                                       JURY DEMAND

        Plaintiff hereby demands a jury trial by the maximum persons permitted by law on all

issues herein triable to a jury.


                                             /s/Zachary T. Williams
                                             Zachary T. Williams




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